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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
    V.                                         )       USDC No. 21-cr-292-02 (RCL)
                                               )
Daniel Scott, defendant.                       )

                                           ORDER

         Upon good cause shown in the defendant's Unopposed Motion to Permit Travel, the lack

of opposition from the United States, and other evidence in the record of this case, it shall be and

hereby is,

         ORDERED, this "'1-"'day of          Pf� , 2023 that the defendant may travel to

and from the planned destination in Lecanto (Citrus County) within the Middle District of

Florida, on April 8-9, 2023, during which time his curfew may be lifted, so long as he provides

to the satisfaction of the Pretrial Services Agency details about his itinerary.




                                Hon. Royce C. Lamberth, Senior Judge
                                United States District Court for the District of Columbia

cc: Nathan I. Silver, Esq.
    6300 Orchid Drive
    Bethesda, MD 20817-5614
    By ECF

    William K. Dreher, Esq ..
    U.S. Dept. of Justice
    USAO-WDWA
